                           Case 6:10-bk-18867-ABB                     Doc 15          Filed 12/23/10               Page 1 of 5
B6F (OfficialForm 6F) (12107)


In re       Sherry Jacqueline Bertucelli                                                                  C a s eN o . 1 0 - 1 8 8 6 7
                                                     Debtor                                                                        (lf known)

        AMENDED      F - CREDITORS
              SCHEDULE           HOLDING
                                       UNSECURED
                                               NONPRIORITY
                              CLAIMS

        f          Checkthis box if debtorhas no creditorsholdingunsecuredclaimsto reporton this ScheduleF

                                                          ts
                                                          z
                                                          o>                      DATE CLAIM WAS                                                A M O U N TO F
                                                                                                                               F       o
                                                          d=
                                                          4 f
                                                                                   INCURRED  AND                               z
                                                                                                                               U
                                                                                                                                       u
                                                                                                                                       F   a       CLAIM
                                                          =>                    CONSIDERATION   FOR                            o
                                                                                                                               z       o   F
                                                                                                                                           l
                                                          oO                           CLAIM.                                  F
                                                                                                                               z
                                                                                                                                       l   0
                                                                                                                                           c)
                                                          <il                  IF CLAIM IS SUBJECTTO                           o       -
                                                                                                                                       z
                                                                                                                                           O


                                                          l                       SETOFF,SO STATE
                                                                                                                               O
                                                                                                                                       )
                                                          I




                                                                                                                                       X               1,861.18




                Q Continuation
                             sheetsattached

                                                                                                                                                      1,861.18




                                                                                                                               Total
                                                                                (Use only on last page of the completed ScheduteF.)
                                                              (Reportalso on Summaryof Schedulesand, if applicableon the Statistical
                                                                                   Summaryof Certain Liabilitiesand RelatedData.)
        Case 6:10-bk-18867-ABB     Doc 15    Filed 12/23/10    Page 2 of 5




I declareunderpenalty of perjury that the attachedAmendedScheduleF is true and
correct.




/s/ Carl I-. Criflin                                   Datc:
                                  Case 6:10-bk-18867-ABB              Doc 15     Filed 12/23/10                Page 3 of 5

    86 Summary(OfficialForm6 - Summary)
                                      (12107)

                                                       UnitedStatesBankruptcyCourt
                                                         MiddleDistrictof Florida

    Inre she1ry_Jacquerine
                        Bertuceili                                                                    C a s eN o 1 0 - 1 8 8 G 7
                                                          D"bt'-_.-
                                                                                                      Chapter     7

                                            . SUMMARY
                                      AMENDED       OF SCHEDULES
    Indicateas to eachschedulewhetherthat scheduleis attachedand statethe numberof pagesin each.Reportthe totalsfrom
                                                                                                                     Schedules  A, B, D, E, F, l,
    and J in the boxesprovided.
                              Add the amountsfrom schedulesA and B to determinethe totalamountof the debtois assets.Add the amounts
                                                                                                                                     of all claims
    from SchedulesD, E, and F to determinethe totalamountof the debtor'sliabilities.
                                                                                  Individual
                                                                                          debtorsalsomust completethe,'Statisticat
                                                                                                                                Summaryof
    CertainLrabilities
                     and RelatedData"if theyfile a case underchapter7. 11.or 13




    [*"*       E OFSCHEDULE             ATTACHED NO. OF SHEETS                 ASSETS                           LIABILITIES            OTHER
    t--
lA-ReatPror
              Property
                                         (YES/NO)

                                            YES                  1       $         394.970.00

     . -o"^""",
            Property                        YES                  3       $           4. 2 7 1 . 3 3
l
l c - e r o p e rCtl ya itm e d             YES
        aselmn
             ot                                                  1
I
I o - creoitors
             ; Holding                      YES                  2                                     $              648.429.96
I     Secured(C l a i m s
i ' -Priority
     * r ;rrs HoldingUnsecured
           Cll a i m s
          rC                                YES                  2                                     $                6.480.23
I
        (Totalof Claims
                 C     on ScheduleE)
|
tt -.**torsHoldingUnsecured                 YES                  1                                     $               14.038.92
I       Nonpriorit,
           riorityClaims
t       _
I G -Executorv
           Contracts
                  and                       YES                  ,l
        unexnireo
              LCASES
I
    H -Codebtors                            YES                  1
I
I l - C u r r nt
              e nIncome
                  t l n , of                                                                                                       $     2.171.64
              jual Debto(s)
      tnoivtoual                            YES                  1
I
|,-              Expenditures
                            of              YES                  1
       ",,*;
       tnotviouat
             el Debto(s)                                                                                                           $     2.501.32
I
                                    TOTAL
                                                               14       $        399,241.33 $                     668,949.11
                       Case 6:10-bk-18867-ABB                  Doc 15    Filed 12/23/10            Page 4 of 5
Form 6 - StatisticalSummary(12107)

                                                 UnitedStatesBankruptcyCourt
                                                    MiddleDistrictof Florida

In re SherryJacquelineBertucelli                                                          C a s eN o . 1 0 - 1 8 8 6 7
                                                      Debtor                              Chapter 7

       - STATISTICAL
 AMENDED          SUMMARY
                        OF CERTATN
                                 LTABILTTTES
                                         ANDRELATED
                                                  DATA(28U.S.C.S 159)
         lf you are an individual
                               debtorwhosedebtsare primarilyconsumerdebts,as definedin $ 101(B)of the Bankruptcy
                                                                                                               Code(11 U.S.C.
S 101(8))filinga caseunderchapter7, 11 or 13, you must reportall information
                                                                           requestedbelow.


         lJ Checkthis box if you are an individual
                                                 debtorwhosedebtsare NOT primarilyconsumerdebts.You are not requiredto reportany
infornration
           here.


This informationis for statisticalpurposes only under 28 U.S.C.S 159.



Summarizethe following types of liabilities,as reportedin the Schedules,and total them.



 Type of Liability                                                 Amount
                          (fromScheduleE)
 DomesticSupportObligations                                       $     o.oo
 Taxersand CertainOther DebtsOwed to GovernmentalUnits (from
 ScheduleE)                                                       $     6,q80.23
 Clairnsfor Deathor PersonalInjuryWhile DebtorWas
 Intoxicated(fromScheduleE) (whetherdisputedor undisputed)        $     o.oo
                      (fromScheduleF)
 StudentLoanObligations                                           $     o.oo
 Domestic       Separation
         Support,        Agreement,
                                 andDivorce
                                          Decree
           NotReported
 Obii(rations                 E
                     on Schedule                                  $     o.oo
                                     and OtherSimilar
           to Pensionor ProfifSharing,
 Obligations
 Obligations(fromScheduleF)                                       $     o.oo
                                                      TOTAL        $    6.480.23

Statethe following:

 AverageIncome(fromSchedulel, Line 16)                            $     2,1r1.64
 AverageExpenses(fromScheduleJ, Line 1B)                          $     2,501.32
 CurrentMonthlyIncome(fromForm22A Line'12;OR, Form
 228 Line 11;OR, Form22C Line20 )                                 $     2,682.36

State the following:

                           'UNSECURED
 1. Totalfrom ScheduleD,             PORTION,lF ANY'
 column                                                                               $      262,269.tt
                         'AMOUNTENTITLEDTO
 2. Totalfrom ScheduleE,                   PRIORITY"
 column.
                                                                  $     6,480.23
 3. TotalfromScheduleE, 'AMOUNT
                              NOTENTITLED
                                        TO
 PRIORITY,  lF ANY"column                                                             $     0.00
 4. Totalfrom ScheduleF                                                               $      rz,rll.lt
                      unsecureddebt (sum of 1, 3, and 4)
 5. Totalof non-priority                                                              $     274,446.8s
          Case 6:10-bk-18867-ABB         Doc 15   Filed 12/23/10        Page 5 of 5




                         IJNITEDSTATESBANKRUPTCYCOURT'
                            MIDDLEDISTzuCTOF FLOzuDA
                               ORLANDO.DIVISION

IN RE:

SherryJacqueline
               Bertucelli,                           caseNo.: 6:10-bk-18867-,{88
         Debtor.
                                     t



                               CERTIFICATEOF SERVICE

         I HEREBY CERTIFYthat a true and correctcopy of the AmendedScheduleF

       with the Meetingof Creditorswerefumishedby U.S.Mail this 3,2
together                                                                              dayof
l^


A    f i.tl /tft   .2010,to QBE SpecialtyInsuranceCompany,PO Box Sl2g,Jacksonville,
                                                                   .n
                                   rhisq!
FL32239-8129andElectronicTransmission                     dayof [liL       i.l.l-ff , 2010,to

Leigh R. Meininger,PO Box 1946, Orlando,F'L 32802-1946and The United States

Trustee,
       135WestCentralBlvd, Orlando,FL 32801.



                                             /S/ Carl L. Griffin
                                             CARL L. GRIFFIN,ESQUIRE
                                             Carl[.. Griffin,P.A.
                                             2223CurryFordRoad
                                             Orlando,FL 32806
                                             (407)897-227s
                                             FloridaBarNo. 88885C)
                                             Attorneyfor Debtor
